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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    EOLAS TECHNOLOGIES                                 Case No.17-cv-03022-JST (JSC)
                                        INCORPORATED,
                                   8                   Plaintiff,                          ORDER RE: PRIVILEGE WAIVER
                                   9                                                       DISPUTE
                                                v.
                                  10                                                       Dkt. Nos. 466, 467, 470, 477, 484
                                        AMAZON.COM INC, et al.,
                                  11                   Defendants.
                                  12
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 United States District Court




                                  13          In this consolidated action, Eolas alleges that Amazon, Google, and Walmart are infringing

                                  14   on United States Patent No. 9,195,507 (“the ’507 Patent”). Defendants Amazon and Google

                                  15   (Defendants) contend that Eolas’ attorneys violated a patent prosecution bar imposed in an earlier

                                  16   action. Eolas admits that it violated the bar as of July 22, 2014—the date it thought it expired—

                                  17   but denies that it violated before that date. At a hearing in March 2018, Eolas consented to

                                  18   disclosure of its attorney-client privileged communications prior to July 22, 2014 and those

                                  19   communications have been produced. Defendants now contend that Eolas must produce its

                                  20   privileged communications after July 22, 2014 because it expressly waived the privilege as to

                                  21   those communications by consenting to disclosure of the pre-July 22, 2014 material and because it

                                  22   impliedly waived the privilege by raising harmlessness and good faith defenses. After carefully

                                  23   considering the parties’ written submissions and having had the benefit of oral argument on

                                  24   November 9, 2018, the Court DENIES Defendants’ motion to compel. The Court finds that Eolas

                                  25   has not expressly or impliedly waived its attorney-client and attorney work-product privilege in

                                  26   the post-July 22, 2014 material. The Court also DENIES Eolas’ motion to compel related

                                  27   discovery.

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                                   1                                            BACKGROUND

                                   2          Eolas, Amazon, and Google were parties to prior litigation in the District Court for the

                                   3   Eastern District of Texas regarding similar (according to Amazon identical) patents.1 See Eolas

                                   4   Tech. v. Adobe Sys, Inc., 6:09-cv-00446-LED (E.D. Tex.). In that earlier action, the district court

                                   5   issued an order imposing the following prosecution bar:

                                   6                  “Any person who reviews or otherwise learns the contents of
                                                      Technical Protected Material produced by another Party may not
                                   7                  participate, directly or indirectly, in the prosecution of any patent
                                                      claims … claiming the subject matter disclosed in the Patents-in-
                                   8                  Suit from the time of receipt of such information through and
                                                      including one (1) year following the entry of a final non-appealable
                                   9                  judgment….”
                                  10   (Dkt. No. 262-2 at 6.) That case went to trial in 2012 and the jury found the patent claims

                                  11   invalid—based on anticipation and obviousness—and returned a verdict in favor of the

                                  12   defendants. See Eolas Tech. v. Adobe Sys., Inc., 6:09-cv-00446-LED, Dkt. No. 1353 (Jury
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                                  13   Verdict, Feb. 9 2012). Eolas appealed and the Federal Circuit affirmed and entered judgment on

                                  14   July 22, 2013. See Eolas Techs. Inc. v. Amazon.com, Inc., 521 F. App'x 928 (Fed. Cir. 2013). The

                                  15   law firm of McKool Smith represented Eolas in this prior action.

                                  16          A year and a half later, Eolas—again represented by McKool Smith—filed the underlying

                                  17   actions against Amazon, Google, and Walmart, again in the Eastern District of Texas. Eolas

                                  18   alleges infringement of the ’507 Patent” entitled, “Distributed Hypermedia Method and System for

                                  19   Automatically Invoking External Application Providing Interaction and Display of Embedded

                                  20   Objects Within A Hypermedia Document,” which was issued by the United States Patent and

                                  21   Trademark Office on November 24, 2015. (Dkt. No. 1 at ¶ 14.) Eolas owns the patent and the

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                                         The patents in this prior action were U.S. Patent Nos. 5,838,906 (“the ‘906 Patent”) and
                                  25   7,599,985 (“the ‘985 Patent”). The ‘906 Patent was entitled “Distributed Hypermedia Method for
                                       Automatically Invoking External Application Providing Interaction and Display of Embedded
                                  26   Objects Within a Hypermedia Document.” The ‘985 Patent was entitled “Distributed Hypermedia
                                       Method and System for Automatically Invoking External Application Providing Interaction and
                                  27   Display of Embedded Objects Within a Hypermedia Document.” The ‘906 and ‘985 Patents were
                                       generally directed to a software system that is operable without user activation to access an object,
                                  28   present it in a browser display window, and then allow a user to manipulate the object. Eolas is
                                       the exclusive licensee of these patents.
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                                   1   named inventors of the ’507 patent are Michael Doyle, David Martin, and Cheong Ang—these are

                                   2   the same inventors of the patents in the prior suit.

                                   3          Shortly after Eolas brought the action it filed a motion for summary judgment seeking a

                                   4   declaration that the Patent and Trademark Office’s 1042-day patent term adjustment was not

                                   5   invalid. (Dkt. No. 88.) This was a preemptive motion because Defendants contended that the

                                   6   patent term adjustment was invalid because Eolas engaged in gamesmanship and, in particular,

                                   7   unreasonably and intentionally delayed its prosecution of the ‘507 patent. Without the patent term

                                   8   adjustment, the ‘507 patent arguably expired in October 2014—20 years from the filing of the

                                   9   parent application. The Texas court denied Eolas’ motion for summary judgment without

                                  10   prejudice on the grounds that there were disputes of fact as to whether the prosecution history

                                  11   reflects an effort to delay or expedite the prosecution. (Dkt. No. 202 at 5.)

                                  12          Each of the defendants thereafter sought to have the actions dismissed for improper venue
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                                  13   or transferred to the Northern District of California. The district court denied each of these

                                  14   motions. (See, e.g., Dkt. No. 196.) However, the Federal Circuit subsequently granted Google’s

                                  15   petition for a writ of mandamus and ordered the action transferred to this District. (Dkt. No. 249.)

                                  16   The Google action was transferred here on February 24, 2017. (Dkt. No. 251.) Two months later,

                                  17   the Texas court separately transferred the Amazon and Walmart actions. (Dkt. Nos. 326, 327.)

                                  18   The consolidated actions were assigned to District Judge Tigar.

                                  19          Prior to transfer, Amazon filed a motion for an order to show cause regarding Eolas’

                                  20   alleged violation of the prosecution bar imposed in the prior action between Amazon and Eolas.

                                  21   (Dkt. No. 262.) Amazon’s motion contended that Eolas violated the prosecution bar because

                                  22   McKool Smith delivered prosecution advice to Eolas’ Chief Legal Officer, Jim Stetson, who

                                  23   forwarded the information to Eolas’ outside patent lawyer, Charles Krueger. Amazon contends

                                  24   that “this scheme” began as early as six months after the ’507 patent application was filed in

                                  25   November 2011. (Dkt. No. 262 at 8.)

                                  26          The fully briefed motion for an order to show cause was transferred to this District prior to

                                  27   a decision. On September 1, 2017, Judge Tigar issued an order regarding the motion addressing

                                  28   the threshold issue of when the prosecution bar expired. (Dkt. No. 387.) Eolas insisted that the
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                                   1   bar expired on July 22, 2014, one year after the Federal Circuit entered its order affirming the jury

                                   2   verdict; whereas Amazon maintained that the bar expired on October 20, 2014—90 days after

                                   3   final judgment which is the period within which a party could seek review with the Supreme

                                   4   Court. This argument contradicted the position that Amazon and Google had previously taken.

                                   5   (Dkt. No. 118 at 7 (Amazon stated the bar ended in July 2014 “one year after the Federal Circuit’s

                                   6   Rule 36 affirmance”); Dkt. No. 119 at 4 (Google stated, “the August 2014 amendment occurred

                                   7   just one month after the Prosecution Bar in the prior case expired (using the Federal Circuit’s July

                                   8   22, 2013 affirmance as the nonappealable final judgment)”.) Judge Tigar held that the bar expired

                                   9   on October 20, 2014. finding that there was no reason to distinguish this case from one in which a

                                  10   petition for writ of certiorari was filed. In so holding, Judge Tigar noted that Eolas had failed

                                  11   show that judicial estoppel applied to justify the earlier date. (Dkt. No. 387 at 3.) Judge Tigar

                                  12   then ordered the parties meet and confer regarding next steps “including production of documents
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                                  13   or in camera review of additional documents by the Court.” (Id.)

                                  14          Pursuant to Judge Tigar’s order, the parties thereafter filed competing proposals. (Dkt.

                                  15   Nos. 399 & 400.) Eolas argued that no further discovery regarding the prosecution bar was

                                  16   necessary because their interpretation of the expiration date as July 22, 2014 was reasonable. Eolas

                                  17   also insisted that Amazon had not been prejudiced by any violation of the prosecution bar between

                                  18   July and October 2014 because the Patent Office did not take any action until March 2015, and

                                  19   while Eolas amended the claim in August—before the prosecution bar expired—it could have

                                  20   amended just a few months later in November 2014 and the course of the patent prosecution

                                  21   would not have changed. Eolas further objected to any attempt by Amazon to obtain documents

                                  22   or other discovery regarding privileged attorney-client communications. (Dkt. No. 399.)

                                  23          Amazon, for its part, insisted that it should be allowed to review McKool Smith’s

                                  24   communications so that it could “brief the Court on their import.” (Dkt. No. 400 at 2:16-21.)

                                  25   Amazon suggested two alternatives: (1) Eolas could produce these documents subject to a limited

                                  26   subject-matter waiver and with the express agreement that any materials so produced will be used

                                  27   exclusively to resolve the Motion and for no other purpose; or (2) if Eolas produced the materials

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                                   1   for in camera review, then the parties would engage in limited written and deposition discovery

                                   2   intended to provide as much information as possible without invading any bona fide privilege.

                                   3          Judge Tigar essentially adopted Amazon’s proposal and ordered Eolas to produce

                                   4   documents “involving any Eolas representatives or agents bound by the prosecution bar related

                                   5   directly or indirectly to the prosecution of the application leading to the ‘507 patent.” (Dkt. No.

                                   6   403 at ¶ 1.) In particular, Judge Tigar ordered Eolas to: (1) lodge with the Court a BATES-

                                   7   labeled, unredacted copy of the withheld document(s) for in camera review; (2) produce to

                                   8   Defendants and lodge with the Court, a BATES-labeled, redacted copy of the withheld

                                   9   document(s), with redactions narrowly limited to only the content Eolas contends is protected by

                                  10   privilege; (3) produce to Defendants and file with the Court a privilege log identifying each

                                  11   withheld document or document with redacted contents; and (4) produce to Defendants and file

                                  12   with the Court a list of counsel with identifying information. (Id. at ¶ 2.) The order also stated that
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                                  13   upon receipt of the in camera production the court “may refer the matter to a Magistrate Judge;

                                  14   invite briefing on the basis of the privilege logs; conduct its own in camera review; or take other

                                  15   action to resolve whether the submitted materials must be produced to Amazon.” (Id. at ¶ 4.) The

                                  16   order explained that once the court resolved any privilege dispute, Defendants could notice

                                  17   depositions of (a) a representative of McKool Smith to testify about the produced documents and

                                  18   any potential violation of the prosecution bar, and (b) any other individuals for testimony limited

                                  19   to the produced documents and any potential violation of the prosecution bar (including, if

                                  20   requested, Dr. Doyle (Named Inventor/Eolas), and Messrs. Stetson (Eolas), Swords (Eolas), and

                                  21   Krueger (Prosecution Attorney) for further deposition)” and serve written discovery. (Id. at ¶¶ 5-

                                  22   6.) Eolas would then have the opportunity to serve objections and, if after meeting and conferring

                                  23   the parties were not able to resolve any dispute, they could advise the Court and request a hearing.

                                  24   (Id. at ¶¶ 7-9.) Then, after Defendants conducted their discovery, the parties are to “file a

                                  25   proposed briefing and hearing schedule (or if necessary, competing schedules) for briefing

                                  26   remedies, including dismissal and/or judgment.” (Id. at ¶ 10.)

                                  27          Judge Tigar thereafter referred discovery matters, including the prosecution bar discovery

                                  28   dispute, to this Court, and stayed the action pending resolution of Amazon’s prosecution bar
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                                   1   motion. (Dkt. Nos. 405, 407.) On November 16, 2017, this Court ordered Eolas to provide a

                                   2   paper copy of the in camera submission and directed Amazon to file a short statement identifying

                                   3   those entries on the privilege log which it contends suggest that McKool Smith violated the patent

                                   4   prosecution bar because the entries on the privilege log did not match those referenced in

                                   5   Amazon’s original order to show cause. (Dkt. No. 409.) Eolas thereafter provided seven banker’s

                                   6   boxes full of binders of documents for in camera review. In addition, Amazon filed a further

                                   7   statement which clarified that the privilege log Eolas provided after Judge Tigar’s order was

                                   8   different from the log which it relied upon when preparing the order to show cause and pointed to

                                   9   entries which it contends suggested violation of the prosecution bar. (Dkt. No. 410.) Eolas’

                                  10   responsive statement clarified that the difference in logs was a result of Judge Tigar’s order and

                                  11   that the newer log omitted communications from Eolas’ prosecution counsel, Charles Krueger.

                                  12   (Dkt. No. 413.)
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                                  13           After reviewing the documents in camera, the Court issued an order setting a hearing and

                                  14   (1) noting that the vast majority of the documents on Eolas’ privilege log were not confidential

                                  15   because they included publicly available court filings from the prior action as exhibits; (2)

                                  16   ordering Eolas to supplement its in camera production with the omitted Krueger documents; and

                                  17   (3) ordering the parties be prepared to discuss various matters at the upcoming hearing. (Dkt. No.

                                  18   414.)

                                  19           The parties appeared for a hearing on March 29, 2018. At the hearing, Eolas admitted that

                                  20   it had violated the patent prosecution bar as of July 22, 2014. (Dkt. No. 430 at 17, 24.) After the

                                  21   Court indicated that its in camera review of the withheld documents supported a prima facie

                                  22   inference that the prosecution bar had been violated before July 22, 2014 (id. at 16-17), Eolas

                                  23   agreed to produce all of its withheld pre-July 22, 2014 communications on the condition that the

                                  24   documents would be produced attorneys’ eyes only and could only be used for purposes of the

                                  25   prosecution bar motion and patent adjustment invalidity theory (given that the theory is

                                  26   intertwined with the prosecution bar issue). (Dkt. No. 430 at 24-29.) While Defendants claimed

                                  27   cutting off the production at July 22, 2014 would deprive them of the relevant context for the

                                  28   earlier documents, the Court noted that Defendants’ review of the pre-July 22, 2014 documents
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                                   1   might provide them with grounds to argue to the Court that Eolas should have to produce the post-

                                   2   July 22, 2014 privileged communications, notwithstanding Eolas’ concession that it violated the

                                   3   prosecution bar after that date. (Id. at 30.)

                                   4          The following month the Court held a hearing on the discovery status. (Dkt. No. 444.)

                                   5   Eolas agreed to produce all pre-July 22, 2014 internal McKool Smith documents that referenced

                                   6   the ‘507 patent. (Id. at 10.) McKool Smith also reiterated its intent to maintain the attorney-client

                                   7   privilege as to the post-July 22, 2014 documents. (Id. at 11.) Thereafter, when the Court had not

                                   8   heard from the parties for a few months, it requested a written status update. (Dkt. No. 448.) In

                                   9   the update, Defendants proposed a timeline for other discovery to occur in September -November

                                  10   and for the parties to file “any motion regarding any outstanding discovery issues” in December

                                  11   2018 with the hearing sometime in January 2019. (Dkt. No. 450 at 5-6.) Eolas’ timeline was

                                  12   substantially the same. (Id. at 9-10.) The Court held a further status hearing on September 6,
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                                  13   2018 and set a briefing schedule for Defendants’ motion to compel post-July 22, 2014 attorney-

                                  14   client privileged documents. (Dkt. No. 453.) The parties thereafter filed written submissions and

                                  15   the Court held a hearing on November 9, 2018.

                                  16                                               DISCUSSION

                                  17          Defendants Amazon and Google move to compel Eolas to produce its attorney-client

                                  18   privileged communications created after July 22, 2014; that is, communications made after Eolas

                                  19   admits it violated the patent prosecution bar. They make two primary arguments in support of

                                  20   their motion: (1) Eolas expressly waived the privilege as to those communications, and (2) Eolas

                                  21   impliedly waived the privilege. Neither argument persuades the Court to compel Eolas to produce

                                  22   its post July 22, 2014 attorney-client privileged communications.

                                  23          A. Choice of Law

                                  24          Federal Circuit law governs the privilege waiver question. These consolidated actions were

                                  25   transferred here from the Eastern District of Texas pursuant to 28 U.S.C. § 1404(a) (Dkt. No. 326

                                  26   at 2); accordingly, Fifth Circuit law would normally apply. See Ferens v. John Deere Co., 494

                                  27   U.S. 516, 522 (1990). However, because the privilege question here relates to a question of

                                  28   substantive patent law, Federal Circuit law applies. See Advanced Cardiovascular Sys., Inc. v.
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                                   1   Medtronic, Inc., 265 F.3d 1294, 1307 (Fed. Cir. 2001) (“Federal Circuit law applies when

                                   2   deciding whether particular written or other materials are discoverable in a patent case, if those

                                   3   materials relate to an issue of substantive patent law.”); see also In re Queen’s Univ. at Kingston,

                                   4   820 F.3d 1287, 1290–91 (Fed. Cir. 2016) (Federal Circuit law applies regarding “whether

                                   5   particular documents are discoverable in a patent case because they relate to issues of validity and

                                   6   infringement”); see also id. (Federal Circuit law also applies “when making ‘a determination of

                                   7   the applicability of the attorney-client privilege to [a party’s] invention record [because it] clearly

                                   8   implicates, at the very least, the substantive patent issue of inequitable conduct.”) (internal

                                   9   quotation marks and citation omitted)). Nonetheless, no party contends that the law of the Federal,

                                  10   Fifth or Ninth Circuit differs in a material way as to the privilege waiver issue.

                                  11          B. Express Waiver

                                  12          Federal Rule of Evidence 502(a) provides that when a party waives the attorney-client
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                                  13   privilege or work-product protection in a federal proceeding, “the waiver extends to an

                                  14   undisclosed communication or information . . . only if: (1) the waiver is intentional; (2) the

                                  15   disclosed and undisclosed communications or information concern the same subject matter; and

                                  16   (3) they ought in fairness be considered together.” Defendants urge that Eolas’ waiver as to the

                                  17   pre-July 22, 2014 communications was intentional, the sought-after post-July 22, 2014

                                  18   communications regarding the ‘507 patent application concern the same subject matter as the pre-

                                  19   July 22, 2014 communications, and in fairness all the communications ought to be considered

                                  20   together.

                                  21          Assuming, without deciding, that Rule 502(a) applies in the unique circumstances here

                                  22   (Dkt. No. 403 at 23:5-8 (noting that Eolas’ waiver is not a subject-matter waiver)), the Court finds

                                  23   that fairness does not require Eolas to disclose the post-July 22, 2014 communications. “[A]

                                  24   subject matter waiver (of either privilege or work product) is reserved for those unusual situations

                                  25   in which fairness requires a further disclosure of related, protected information, in order to prevent

                                  26   a selective and misleading presentation of evidence to the disadvantage of the adversary.” Fed. R.

                                  27   Evid. 502(a) Advisory Committee Note (2011); see also Wi-LAN, Inc. v. Kilpatrick Townsend &

                                  28   Stockton LLP, 684 F.3d 1364, 1369 (Fed. Cir. 2012) (observing that Rule 502(a), enacted in 2008,
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                                   1   “limited the effect of waiver by strongly endorsing fairness balancing.”). The Court is

                                   2   persuaded that permitting Eolas to maintain its privilege over the post-July 22 communications

                                   3   does not lead to a selective and misleading presentation of the evidence to Defendants’

                                   4   disadvantage.

                                   5          Eolas concedes that it violated the patent prosecution bar after July 22, 2014. In response

                                   6   to Defendants’ insistence that the privilege log showed that it had violated the privilege before that

                                   7   date, Eolas waived the privilege for communications prior to July 22, 2014. Thus, the parties have

                                   8   equal access to the material relevant to any argument as to whether Eolas violated the privilege

                                   9   before July 22, 2014. Defendants nonetheless argue that because, in their view, the produced

                                  10   documents demonstrate that Eolas violated the prosecution bar before July 22,2 “documents

                                  11   created after that date could certainly speak to the scope and consequences of earlier violations.”

                                  12   (Dkt. No. 467 at 8.) That documents created after July 22 might be relevant is not the same as
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                                  13   saying that in fairness they need to be produced to avoid a misleading presentation as to whether

                                  14   Eolas violated the bar prior to July 22, 2014. The Court does not understand how something Eolas

                                  15   and its counsel did after it admittedly violated the bar is material to whether it violated the bar

                                  16   prior to July 22. When Eolas waived the privilege as to the pre-July 22 communications, the Court

                                  17   noted that Defendants might learn something from that material that would warrant compelling

                                  18   production of the post-July 22 material; to put it another way, they might discover information that

                                  19   for fairness sake would require disclose of privileged material after Eolas concedes the

                                  20   prosecution bar was violated. (Dkt. No. 430 at 30.) Defendants, however, have not identified

                                  21   anything in the production that suggests as a matter of fairness Defendants need to see Eolas’

                                  22   privileged communications about the ‘507 patent application during the period Eolas admits its

                                  23   counsel was assisting with the prosecution of the application and thus violating the bar.

                                  24          Defendants also argue that because Eolas contends that the pre-July 22 documents show

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                                  26     Defendants represent in their motion that this Court stated, “that upon review of in camera
                                       documents, there was participation in violation of the prosecution bar before July 22, 2014.” (Dkt.
                                  27   No. at 8.) The Court made it clear, however, that its statement was based on its review alone
                                       without any argument. It further clarified that it was making a prima facie finding that permitted
                                  28   the issue to go forward. (Dkt. No. 430 at 26.) This Court has not been tasked with and has not
                                       found whether Eolas violated the prosecution bar prior to July 22, 2014.
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                                   1   that it did not violate the patent prosecution bar prior to July 22, Eolas is unfairly relying on

                                   2   selective documents to tell its side of the story. That argument might sway if Eolas was also

                                   3   contesting that it violated the patent prosecution bar after July 22—but it is not: it admits it

                                   4   violated the bar after July 22, 2014. It disputes that it violated the bar prior to that date and has

                                   5   waived the privilege for its communications up to that date. Again, Defendants fail to explain

                                   6   what, if anything, post-July 22 would shed light on whether Eolas violated the bar prior to that

                                   7   date and the Court is not aware of anything, let alone anything that makes it unfair for Eolas to

                                   8   maintain its privilege as to the post-July 22 materials. Defendants chanting that it is unfair does

                                   9   not make it unfair.

                                  10            Defendants’ reliance on Theranos v. Fuisz Technologies, Inc., 2013 WL 2153276 (N.D.

                                  11   Cal. May 16, 2013), is misplaced. There, the defendant produced selective privileged emails that

                                  12   he contended showed that he had not used the plaintiff’s intellectual property to secure a patent.
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                                  13   The court held that it would be unfair to permit the defendant to rely on those documents in his

                                  14   defense while withholding other privileged communications that might show that he in fact used

                                  15   the plaintiff’s intellectual property. Id. at *4. Here, in contrast, Eolas has not selectively waived

                                  16   the privilege as to some privileged communications during the pre-July 2014 period—it has

                                  17   waived the privilege as to all pre-July 20, 2014 documents; that is, the documents that would show

                                  18   what activities its counsel engaged in and thus whether it violated the patent prosecution bar

                                  19   during that period.

                                  20            The Court accordingly finds that Eolas did not waive its attorney-client privilege as to

                                  21   post-July 22 communications by voluntarily waiving the privilege as to communications during

                                  22   the period it contends it did not violate the patent prosecution bar.

                                  23            C. Implied Waiver

                                  24            Next, Defendants contend that Eolas has impliedly waived the attorney-client privilege as

                                  25   to the post-July 22 communications by raising the defenses of (1) harmlessness, and (2) good

                                  26   faith.

                                  27            “[A]n implied waiver of the attorney-client privilege occurs when (1) the party asserts the

                                  28   privilege as a result of some affirmative act, such as filing suit; (2) through this affirmative act, the
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                                   1   asserting party puts the privileged information at issue; and (3) allowing the privilege would deny

                                   2   the opposing party access to information vital to its defense.” Home Indem. Co. v. Lane Powell

                                   3   Moss & Miller, 43 F.3d 1322, 1326 (9th Cir. 1995). “An overarching consideration is whether

                                   4   allowing the privilege to protect against disclosure of the information would be ‘manifestly unfair’

                                   5   to the opposing party.” Id.

                                   6                  1. Harmlessness

                                   7          Eolas urges that its admitted violation of the patent prosecution bar after July 22, 2014 was

                                   8   harmless. Its temporal argument goes like this: (1) it is undisputed that the patent prosecution bar

                                   9   expired on October 14, 2014, (2) publicly available documents show that the Patent and

                                  10   Trademark Office did not act on the proposed claim amendment until February 2015, and

                                  11   therefore, (3) Eolas could have submitted its proposed amendment in November 2014 with the

                                  12   assistance of McKool Smith—when no bar was in place—and the result would have been the
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                                  13   same as when they submitted the amendment in August 2014 in violation of the bar. (Dkt. Nos.

                                  14   399 at 3; 472 at 19.) Whatever its merits, this defense does not place Eolas’ attorney-client

                                  15   privileged communications at issue as it has nothing to do with the quality or even quantity of

                                  16   McKool Smith’s assistance, only its timing. A defense that McKool Smith’s assistance was not

                                  17   material to the proposed amendment would likely put McKool Smith’s work product and

                                  18   communications with Eolas during that period at issue, but Eolas has not raised such a defense.

                                  19   Defendants appear to argue that because the nature of McKool Smith’s involvement in the

                                  20   prosecution of the ‘507 patent is relevant to any harm suffered by Defendants, Eolas has waived

                                  21   the privilege as to the post-July 22, 2014 communications. But that argument confuses relevance

                                  22   with waiver. The post-July 22, 2014 communications are relevant to Defendants’ motion; the

                                  23   question, however, is whether Eolas has taken some affirmative act that puts the privileged

                                  24   information at issue. Its “harmlessness” argument based solely on the timing of the PTO’s action

                                  25   is not such an act.

                                  26                  2. Bad Faith

                                  27          Eolas also contends that its understanding that the prosecution bar expired on July 22, 2014

                                  28   was objectively reasonable based on: (1) the protective order language, (2) a Federal Circuit
                                                                                        11
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                                   1   Information Sheet, (3) both Amazon and Google stating in signed pleadings in this case that the

                                   2   bar expired in July 2014, and (4) an expert opinion. (Dkt. No. 399 1-2; Dkt. No. 413 at 18-21;

                                   3   Dkt. No. 472 at 20-22.) None of these objective, external facts places Eolas’ attorney-client

                                   4   privileged communications at issue. To hold otherwise would mean that any time a defendant

                                   5   challenges a charge of willfulness or bad faith by pointing to caselaw or government agency

                                   6   guidance or other objective external evidence, the defendant waives its attorney-client privilege as

                                   7   to its subjective belief. That is not the law of attorney-client privilege.

                                   8           Defendants urge further that because Eolas has insisted that Defendants do not have any

                                   9   evidence of a bad faith violation of the prosecution bar Eolas has somehow put its privileged

                                  10   communications at issue. However, merely pointing out that the admissible, discoverable

                                  11   evidence does not support a party’s position is not an affirmative act that waives the attorney-

                                  12   client privilege and Defendants do not cite any case that suggests otherwise.
Northern District of California
 United States District Court




                                  13           D. Eolas’ Counter Motion

                                  14           As a related matter, Eolas seeks to compel Defendants to respond to interrogatories,

                                  15   requests for admissions and document requests regarding (1) the bases for Defendants’ position

                                  16   that the prosecution bar expired on July 22, 2014, and (1) Defendants’ understanding of the

                                  17   prosecution bar expiration. (Dkt. No. 484.)

                                  18           Eolas’ motion is DENIED. As Defendants’ explain, the Court did not previously rule that

                                  19   such discovery was warranted. Further, such discovery is not relevant to Eolas’ objective good

                                  20   faith defense and it seeks attorney-client privileged communications for which there has been no

                                  21   waiver. Given the lack of relevance, no privilege log is required.

                                  22                                               CONCLUSION

                                  23           In any dispute over the violation of a patent prosecution bar the accused’s attorney-client

                                  24   privileged communications will always be relevant. But privileged communications are not

                                  25   discoverable merely because they are relevant. As Eolas admits that it violated the patent

                                  26   prosecution after July 22, 2014, and it did not waive the privilege as to its post-July 22, 2014

                                  27   privileged communications by waiving the privilege as to its communications during the period it

                                  28   contests violation of the bar, Federal Rule of Evidence 502(a) does not compel disclosure of the
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                                   1   post-July 22, 2014 communications. Further, Eolas’ temporal harmlessness defense and its

                                   2   insistence that its belief that the bar expired on July 22, 2014 was objectively reasonable did not

                                   3   impliedly waive privilege as to post-July 22, 2014 communications. Thus, Defendants’ motion to

                                   4   compel is denied. Eolas’ motion to compel is likewise denied.

                                   5          On or before January 4, 2019, the parties shall submit to the Court a schedule for the

                                   6   completion of the patent prosecution bar discovery.

                                   7          The Administrative Motions to seal portions of the briefs and exhibits that reflect Eolas’

                                   8   attorney-client privileged communications that were produced subject to an attorneys-eyes only

                                   9   agreement are GRANTED. (Dkt. Nos. 466, 470, 477.) The Court notes that a different standard

                                  10   may apply to sealing these documents when they are used in briefing to the district court regarding

                                  11   whether the prosecution bar was violated prior to July 22, 2014.

                                  12          This Order disposes of Docket Nos. 466, 467, 470, 477, and 484.
Northern District of California
 United States District Court




                                  13          IT IS SO ORDERED.

                                  14   Dated: December 14, 2018

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                                                                                                    JACQUELINE SCOTT CORLEY
                                  17                                                                United States Magistrate Judge
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